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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                :   Hon. Claire C. Cecchi, U.S.D.J.

               v.                        :   Crim. No. 19-877 (CCC)

MATTHEW GOETTSCHE,                       :   PARTIAL VACATUR OF POST
RUSS ALBERT MEDLIN,                          INDICTMENT RESTRAINING
JOBADIAH SINCLAIR WEEKS,                 :   ORDER PURSUANT TO 21 U.S.C.
JOSEPH FRANK ABEL, and                       § 853(e)(1)(A)
SILVIU CATALIN BALACI,                   :

                    Defendants.          :


      WHEREAS, on or about July 20, 2021, pursuant to 21 U.S.C. §

853(e)(1)(A), the Court entered an Ex Parte Post-Indictment Restraining Order

(“Order”) ordering that Matthew Brent Goettsche (“Goettsche”), Russ Albert

Medlin, and Jobadiah Sinclair Weeks, and all their attorneys, agents, other

family members, and anyone acting on their behalf, and all persons or entities

acting for or in concert with or in participation with any of the above, and all

persons and entities having actual knowledge of the order shall not directly or

indirectly, transfer, sell, assign, pledge, distribute, hypothecate, encumber,

attach, or dispose of in any manner; cause to be transferred, sold, assigned,

pledged, distributed, hypothecated, encumbered, attached, or disposed of in

any manner; or take, or cause to be taken, any action that would have the

effect of depreciating, damaging, or in any way diminishing the value of certain

properties listed on the Order;

      WHEREAS, among those listed properties is any and all ownership

interest held in the name, on behalf or for the benefit of Matthew Brent
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Goettsche, GoBit LLC, Bitwealth Holdings LLC, Bitwealth Investments, Inc.,

Bitwealth Oil & Gas LLC, Reel Men LLC, Getch Holdings LLC and Hard Fork

Holdings LLC in the assets of Cryptowatt Mining, LLC and Cryptowatt

Investment Partners, LLC (“Specific Property”);

      WHEREAS, the Specific Property was the subject of a Confidential Global

Settlement Agreement and General Mutual Release executed on August 23,

2020 between and among Goettsche individually; Hardfork Holdings, Inc.

(“Hard Fork”), 1 acting at the direction of its Chief Executive Officer Goettsche;

Cryptowatt Investment Partners, LLC, acting at the direction of its Chief

Executive Officer, Goettsche; Kevin Washington (“Washington”) individually;

CryptoWatt Management, LLC (“Cryptowatt”), acting at the direction of its Sole

Member, Washington; Rick Tabish individually; and FX Solutions, Inc., acting

at the direction of its President, Tabish (“Settlement Agreement”);

      WHEREAS, the Order was issued after the Settlement Agreement was

executed;

      WHEREAS, pursuant to the Settlement Agreement Washington, Atlas

Power, LLC, or Atlas Power Holdings, LLC (collectively with Washington and




1 The Restraining Order references Hard Fork Holdings LLC, which entity does
not exist, instead of Hard Fork Holdings Inc., which is a party to the Settlement
Agreement. For the purposes of the Stipulation only, the parties agreed that
the Government’s use of Hard Fork Holdings LLC in the Restraining Order is
meant to refer to Hard Fork Holdings Inc. Goettsche otherwise reserved all
rights.
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Atlas Power LLC, “Atlas”) to pay $7,500,000 to Hard Fork to purchase Hard

Fork’s interest in the Specific Property;

      WHEREAS, on February 25, 2022, Kobre & Kim LLP represented to the

United States that, pursuant to the Settlement Agreement, the initial

$2,000,000 payment made for the Specific Property was reduced by $6,858.50

which was Goettsche’s share of the closing costs for the transaction; and

      WHEREAS, pursuant to a Stipulation and Modification of the Order

ordered by the Court on March 7, 2022, the United States; Goettsche

individually; Hard Fork; Kobre & Kim LLP; Washington; Atlas Power, LLC; and

Atlas Power Holdings, LLC agreed that the payments made to Hard Fork for the

Specific Property would be held in Kobre & Kim LLP’s attorney trust account;

and

      WHEREAS, on June 30, 2023, Kobre & Kim LLP represented to the

United States that it held $7,493,141.50 representing payment for the Specific

Property in its attorney trust account; and

      WHEREAS, Atlas has made the requisite payments to purchase the

Specific Property;

      WHEREAS, Atlas is a bona fide purchaser for value of the Specific

Property without reason to know of the forfeiture;

      WHEREAS, Goettsche no longer has an interest in the Specific Property;

      WHEREAS, the United States moves to strike the Specific Property from

the Order;

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      WHEREAS, the United States moves to strike the reference to Hard Fork

Holdings LLC in paragraph 4 on page 5 of the Order;

      WHEREAS, upon the request of the United States the Order is hereby

amended as follows.

      NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED

THAT:

        1.   Paragraph 4(o) on page 6 of the Order is hereby stricken.

        2.   The reference to Hard Fork Holdings LLC in paragraph 4 on page 5

of the Order is hereby stricken.

        3.   The Order shall remain in full force and effect in all other respects.

        4.   This Court shall retain jurisdiction to enforce this Order, and to

amend it as necessary.

      ORDERED this            day of December 2023.



                                      ___________________________________
                                      Hon. Claire C. Cecchi
                                      United States District Judge


The undersigned hereby consent to
the entry and form of this Order:

Philip R. Sellinger
United States Attorney

s/ Joseph N. Minish
                                                         Dated: 12-1-23
By: Joseph N. Minish
Assistant United States Attorney

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